432 F.2d 1048
    Donald VROMAN, a minor by James R. Vroman, his next friend, Plaintiff and Appellant,v.SEARS, ROEBUCK AND CO., a New York corporation, and George D. Roper Corporation, Newark Division, a foreign corporation, Defendants and Appellees.
    No. 20280.
    United States Court of Appeals, Sixth Circuit.
    October 28, 1970.
    
      Phillip C. Kelly, Jackson, Mich., for plaintiff and appellant; Kelly, Kelly &amp; Kelly, Jackson, Mich., on brief.
      Louis A. Lehr, Jr., Chicago, Ill., for George D. Roper Corp.; Arnstein, Gluck, Weitzenfeld &amp; Minow, Chicago, Ill., on brief.
      George E. Bushnell, Jr., Detroit, Mich., for Sears, Roebuck &amp; Co.; Gilbert E. Gove, Miller, Canfield, Paddock &amp; Stone, Detroit, Mich., on brief.
      Before EDWARDS, CELEBREZZE and BROOKS, Circuit Judges.
      PER CURIAM.
    
    
      1
      This is the second appeal in this case after a second full scale jury trial. The facts underlying the products liability claim of this plaintiff are set out in full in the majority and dissenting opinions in the previous appeal, Vroman v. Sears, Roebuck &amp; Co., 387 F.2d 732 (6th Cir. 1967).
    
    
      2
      The majority opinion in the first appeal held that the admission in evidence of certain American Standard Safety Specifications for power lawn mowers, which specifications had not been formally adopted until after the manufacture of the lawn mower which occasioned the injury in this case, was prejudicial error which demanded reversal of the jury award and remand for new trial.
    
    
      3
      On the new trial and on a somewhat different factual record, a verdict in favor of defendants was entered. A review of the factual record in this case indicates clearly that the District Judge sought faithfully to follow the direction of the majority opinion of this court on the second trial. The record contains evidence from which the jury could have found in favor of defendant.
    
    
      4
      The judgment of the District Court is affirmed.
    
    